                               No. 25-5202
           IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
      LEARNING RESOURCES, INC., AND HAND2MIND, INC.,
                                 Plaintiffs-Appellees,
                           v.
 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES, IN HIS OFFICIAL
CAPACITY; KRISTI NOEM, SECRETARY OF THE DEPARTMENT OF HOMELAND
 SECURITY, IN HER OFFICIAL CAPACITY; UNITED STATES DEPARTMENT
  OF HOMELAND SECURITY; SCOTT BESSENT, SECRETARY OF THE
 TREASURY, IN HIS OFFICIAL CAPACITY; UNITED STATES DEPARTMENT
     OF THE TREASURY; HOWARD W. LUTNICK, SECRETARY OF
COMMERCE, IN HIS OFFICIAL CAPACITY; UNITED STATES DEPARTMENT
OF COMMERCE; PETE FLORES, ACTING COMMISSIONER OF CUSTOMS &
    BORDER PROTECTION, IN HIS OFFICIAL CAPACITY; UNITED STATES
  CUSTOMS AND BORDER PROTECTION; JAMIESON GREER, U.S.
 TRADE REPRESENTATIVE, IN HIS OFFICIAL CAPACITY; AND OFFICE OF THE
            UNITED STATES TRADE REPRESENTATIVE,
                                         Defendants-Appellants.
    On Appeal from the United States District Court for the District of
                   Columbia, No. 25-cv-01248-RC

         UNOPPOSED MOTION TO DEFER RULING ON
              MOTION TO EXPEDITE APPEAL

                                        Pratik A. Shah
                                        James E. Tysse
                                        Matthew R. Nicely
                                        Daniel M. Witkowski
                                        Kristen E. Loveland
                                        AKIN GUMP STRAUSS
                                          HAUER & FELD LLP
                                        2001 K Street, N.W.
                                        Washington, D.C. 20006
                                        (202) 887-4000
                                        pshah@akingump.com

                                       Counsel for Plaintiffs-Appellees
      Pursuant to Federal Rule of Appellate Procedure 27 and D.C. Circuit Rule

27(e), Plaintiffs Learning Resources, Inc. and hand2mind, Inc. respectfully move

this Court to defer ruling on Plaintiffs’ Unopposed Motion to Expedite The Appeal,

Doc. No. 2119297 (“Motion to Expedite”).            Plaintiffs have conferred with

Defendants, who do not oppose this motion, but reserve the right to respond to future

changes Plaintiffs propose to the schedule originally proposed in the Motion to

Expedite.

      As explained more fully in the Motion to Expedite, the district court on May

29, 2025 preliminarily enjoined Defendants from collecting from Plaintiffs certain

tariffs the President imposed under the International Emergency Economic Powers

Act (“IEEPA”). On June 3, the day after the government moved to stay that decision

in both this Court and the district court, the district court entered a stay of its

injunction pending appeal. Plaintiffs thereafter filed the Motion to Expedite, which

was based on a negotiated schedule. That Motion remains pending.

      In a related lawsuit brought by different plaintiffs challenging Defendants’

IEEPA tariffs, on May 28 the Court of International Trade (“CIT”) issued a decision

concluding that it had exclusive jurisdiction over actions challenging the President’s

tariffs imposed pursuant to IEEPA. V.O.S. Selections, Inc. v. United States, No. 25-

00066, 2025 WL 1514124 (Ct. Int’l Trade May 28, 2025). The CIT further

concluded that IEEPA does not authorize the President’s sweeping global tariffs and



                                          1
permanently enjoined them. Id. at *22. On May 29, the Court of Appeals for the

Federal Circuit issued an administrative stay of the CIT’s injunction and set a

briefing schedule to consider the Government’s motion to stay the CIT’s permanent

injunction, with the Government’s reply due today (June 9). See Dkt. No. 7, No. 25-

1812 (Fed. Cir. May 29, 2025).

      With briefing on the Government’s stay motion now concluded in the Federal

Circuit, the Federal Circuit will imminently decide that motion and likely also set a

schedule for merits briefing in that court. Given the relationship between the two

cases, Plaintiffs believe it may make sense to align merits briefing in this Court and

in the Federal Circuit. Because just one of the lower courts—either the district court

below or the CIT—has jurisdiction over challenges to IEEPA, the cases will likely

be considered in tandem by the U.S. Supreme Court in the next phase.

      Plaintiffs therefore respectfully request that this Court defer consideration of

its pending Motion to Expedite until the Federal Circuit rules on the Government’s

stay motion and issues a schedule for briefing on the merits, if any. Plaintiffs will

file a supplemental notice promptly upon the Federal Circuit’s resolution of the

Government’s stay motion.




                                          2
                   Respectfully submitted,

                   /s/ Pratik A. Shah
                   Pratik A. Shah
                   James E. Tysse
                   Matthew R. Nicely
                   Daniel M. Witkowski
                   Kristen E. Loveland
                   AKIN GUMP STRAUSS HAUER
                     & FELD LLP
                   2001 K Street, NW
                   Washington, DC 20006
                   Tel: (202) 887-4000
                   Fax: (202) 887-4288
                   pshah@akingump.com

                   Counsel for Plaintiffs-Appellees

June 9, 2025




               3
                    CERTIFICATE OF COMPLIANCE

      The foregoing motion is in 14-point Times New Roman proportional font and

contains 440 words, and thus complies with Federal Rule of Appellate Procedure

27(d)(1)-(2).




                                        /s/Pratik A. Shah         .
                                        Pratik A. Shah
                         CERTIFICATE OF SERVICE

      I hereby certify that on June 9, 2025, I electronically filed the foregoing with

the Clerk of the Court of the U.S. Court of Appeals for the District of Columbia

using the appellate CM/ECF system.


                                                           /s/ Pratik A. Shah
                                                           Pratik A. Shah
